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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

MICHAEL PATRICK SIANOTM,

                    Plaintiff Corporate Entity, Document Filed Electronically
                                                Civil Action No.: 3:20-cv-12827-MAS-DEA
          v.

M&T BANK,
PARKER McCAY P.A. LAW
OFFICES et al. and all Unknown Parties,

                    Defendants.




    DEFENDANT M&T BANK’S MEMORANDUM OF LAW IN SUPPORT OF ITS
                MOTION TO DISMISS THE COMPLAINT




On the Brief:
James P. Berg, Esq. (Parker Ibrahim & Berg LLP)
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       Defendant M&T Bank (“M&T Bank”), by and through its undersigned counsel,

respectfully submits this Memorandum of Law in support of its Motion to Dismiss the Complaint

(“Complaint”) of Pro Se Plaintiff Michael Patrick SianoTM (“Plaintiff”), with prejudice, for lack

of subject matter jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1) (the “Motion”).

                                PRELIMINARY STATEMENT

       The Complaint should be dismissed in its entirety, with prejudice, against M&T Bank as

this Court lacks subject matter jurisdiction over Plaintiff’s claims. The instant action appears to

be Plaintiff’s latest attempt to forum shop and extend a state foreclosure action which has been

pending since August 19, 2019.

       On the face of his Complaint, Plaintiff is seeking to either collaterally attack a judgment

properly entered against him in the State Foreclosure Action or attempting to re-litigate claims

that were, or could have been, raised therein. This matter involves substantially the same parties

and the same claims regarding the enforceability of a note and mortgage that Plaintiff is

presently litigating in the State Foreclosure Action. As a result, M&T Bank respectfully submits

that this Court should abstain from and/or dismiss Plaintiff’s Complaint pursuant to Rooker-

Feldman, Colorado River, New Jersey’s Entire Controversy Doctrine, First-Filed Rule and the

doctrines of res judicata and collateral estoppel.

       For these reasons, and for the reasons set forth more fully below, the Motion should be

granted and Plaintiff’s Complaint should be dismissed with prejudice.

                STATEMENT OF FACTS AND PROCEDURAL HISTORY

       I.      The Loan

       On or about July 19, 2017, Plaintiff executed a Note in favor of Glendenning Mortgage

Corporation (“Glendenning”) in the original principal amount of $193,922 (the “Note”). See


                                                     1
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Declaration of James P. Berg in Support of Motion to Dismiss Complaint by Defendant M&T

Bank (the “Berg Decl.”) ¶ 2, Exh. 1.

       On or about July 19, 2017, Plaintiff granted a mortgage in favor of Mortgage Electronic

Registration Systems, Inc. (“MERS”), as nominee for Glendenning, against real property located

at 102 Haines Street, East Lanoka Harbor, New Jersey 08734 (the “Property”) to secure the

Note (the “Mortgage”). See Berg Decl., ¶ 3, Exh. 2. The Mortgage was recorded by the Ocean

County Register on August 2, 2017 in Book 16822, Page 1456 under Instr. # 2017079442.

       On or about October 17, 2018, MERS, as nominee for Glendenning, assigned the

Mortgage to Wells Fargo Bank, N.A. (“Wells Fargo”) See Berg Decl., ¶ 4, Exh. 3. This

Assignment was recorded by the Ocean County Register on October 18, 2018 in Book 17273,

Page 652 under Instr. # 2018102572.

       On or about April 23, 2019, Wells Fargo assigned the Mortgage to M&T Bank. See Berg

Decl., ¶ 5, Exh. 4. This Assignment was recorded by the Ocean County Register on April 24,

2019 in Book 17449, Page 337 under Instr. # 2019037246.

       The foregoing documents are referred to herein as the “Loan Documents” that

memorialize the “Loan.”

       M&T Bank is the holder of the Note and Mortgage. See Berg Decl. ¶ 10, Exh. 9.

       II.    The Foreclosure Action

       On or about August 19, 2019, M&T Bank commenced a foreclosure action against

Plaintiff in the Superior Court of New Jersey, Ocean County, captioned as M&T Bank v.

Maichael P. Siano et al. and docketed at No. SWC-F-14382-19 (the “Foreclosure Action”). See

Berg Decl. ¶¶ 6-7 Exhs. 5 & 6.




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       On or about September 25, 2019, Plaintiff filed a Contesting Answer with Affirmative

Defenses in the Foreclosure Action (the “Answer”). See Berg Decl. ¶ 8 Exh. 7. In particular, the

Answer included, inter alia, the following affirmative defenses: 1) Failure of M&T Bank to

provide documentation about origination and accounting of the Loan; and 2) Breach of contract

alleging violations of the truth and lending act for non-disclosure.

       On or about December 17, 2019, M&T Bank filed a Motion for Summary Judgment in

the Foreclosure Action. See Berg Decl. ¶ 9 Exh. 8.

       On January 14, 2020, Plaintiff filed Opposition to M&T Bank’s Motion for Summary

Judgment. See Berg Decl. ¶ 11 Exh. 10. Notably, Plaintiff’s opposition did not contain or raise

any of the same violations which now make up the causes of action within the present

Complaint. See id.

       On or about January 24, 2020, Judge Francis R. Hodgson, Jr., P.J.Ch. entered an Order

granting M&T Bank’s Motion for Summary Judgment whereby the Court struck Plaintiff’s

Answer. See Berg Decl. ¶ 12 Exh. 11.

       On or about March 4, 2020, M&T Bank filed a Motion for Entry of Final Judgment

wherein M&T Bank requested the Court to enter a judgment for the amount due on the Loan and

that the amount be paid out of the proceeds from the foreclosure sale of the Property. See Berg

Decl. ¶ 13 Exh. 12. Plaintiff did not oppose this motion. See Berg Decl. ¶ 6 Exh. 5.

       On or about June 30, 2020, Judge Francis R. Hodgson, Jr., P.J.Ch. entered an Order of

Final Judgment in the amount of $204,265.57 in favor of M&T Bank (“Judgment”). See Berg

Decl. ¶ 14 Exh. 13.




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          Contemporaneously with the entry of the Judgment, on June 30, 2020, the Clerk of the

 Superior Court of Ocean County signed a Writ of Execution directing the Ocean County

 Sheriff’s Office to sell the Property at auction. See Berg Decl. ¶ 15 Exh. 14.

          On or about August 24, 2020, Plaintiff filed a Motion to Vacate the Judgment (“Vacate

 Motion”). See Berg Decl. ¶ 16 Exh. 15. Notably, Plaintiff again did not claim any of the

 violations which are raised in the current Complaint. See id.

          On September 10, 2020, Plaintiff unilaterally filed a document entitled Counterclaim

 with Quite Title (“Foreclosure Counterclaim”) which included the following causes of action1:

                  Count 1 – Violation of 18 U.S.C. §1962(b), (c), and (d)

                  Count 2 – Common Law Fraud

                  Count 3 – Defamation/Libel

                  Count 4 – Illegal Liens

                  Count 5 – Conspiracy

                  Count 6 – TILA Violations

                  Count 7 – Mail Fraud

                  Count 8 – Creation and Use of Fraudulent Promissory Note and Mortgage
                             Assignments

                  County 9 – Quiet Title

 See Berg Decl. ¶ 18 Exh. 17.

          On or about September 11, 2020, the court rejected Plaintiff’s Foreclosure Counterclaim

 indicating that Plaintiff is in default and the filing of the Foreclosure Counterclaim would require

 an Order vacating the default before it could be accepted. See Berg Decl. ¶ 6 Exh. 6.


 1
  The causes of action asserted in the Foreclosure Counterclaim mirror the causes of action asserted in the instant
 Complaint.

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        Contemporaneously with the rejection of Plaintiff’s Foreclosure Counterclaim, on or

 about September 11, 2020, Judge Francis R. Hodgson, Jr., P.J.Ch. entered an Order denying

 Plaintiff’s Vacate Motion. See Berg Decl. ¶ 19 Exh. 18.

        III.       The Instant Action

        On or about September 18, 2020, less than 10 days after Judge Francis R. Hodgson,

 Jr., P.J.Ch. denied Plaintiff’s Vacate Motion in the Foreclosure Action, Plaintiff commenced

 the within action by filing a Complaint in this Court which was assigned Case No. 3:20-cv-

 12827-MAS-DEA (the “Federal Court Action”). See Berg Decl. ¶ 20 Exh. 19.

        Upon review, the allegations in Plaintiff’s Complaint – filed against M&T Bank and

 Schiller, Knapp, Lefkowitz & Hertezel, LLP (“Schiller Knapp”), its counsel in the Foreclosure

 Action – are substantially identical to those they made against M&T Bank in their Foreclosure

 Counterclaim in the Foreclosure Action. Specifically, Plaintiff’s Complaint in the Federal

 Court Action alleges thirteen (13) causes of action, which include:

                  Violation of 18 USC 1962(c);

                  Violation of 18 USC 1962(d)

                  Violation of 18 USC 1962(b);

                  Violation of 18 USC 1346;

                  Common Law Fraud;

                  Defamation/Libel;

                  Illegal Liens;

                  Conspiracy;

                  TILA violations;

                  Violation of 12 CFR 226.23 and 15 USC 1635;

                                                  5
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                     Mail Fraud;

                     Use of an altered note in a state court proceeding;

                     A general reference to criminal activity premised upon the Foreclosure Action

                      which is purportedly a fraud on the Court and therefore a “criminal activity.”;

                     Quiet Title to the Property

     See Berg Decl. ¶ 20 Exh. 19.

            Indeed, only the alleged violations of 18 USC 1346 and 12 CFR 226.23 and 15 USC

     1635 purports to plead a “new” claim against M&T Bank that – while not previously

     specifically delineated as separate counts in his Foreclosure Counterclaim – is clearly germane

     to same in contesting M&T Bank’s compliance with statutory conditions precedent to

     foreclose on the Property.

            Pursuant to the Order dated October 20, 2020, M&T Bank’s deadline to answer, move, or

     otherwise respond to the Complaint was extended to November 3, 2020.

            Based upon the facts and procedural history of the Foreclosure Action, M&T Bank now

     timely moves and respectfully requests that this Court abstain from and/or dismiss the

     Complaint.

                                            LEGAL ARGUMENT

I.          PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED PURSUANT TO FED. R.
            CIV. P. 12(b)(1)

            A.        Applicable Standard of Review – Fed. R. Civ. P. 12(b)(1)

            Fed. R. Civ. P. 12(b)(1) requires that an action be dismissed for lack of subject matter

     jurisdiction when the district court lacks the statutory or constitutional power to adjudicate the

     case. See Fed. R. Civ. P. 12(b)(1); see also Phila. Fed’n of Teachers v. Ridge, 150 F.3d 319,

     322-23 (3d Cir. 1998) (“The existence of a case and controversy is a prerequisite to all federal
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 actions, including those for declaratory or injunctive relief.”).             “Unless affirmatively

 demonstrated, a federal court is presumed to lack subject matter jurisdiction.” Harris v. Wells

 Fargo Bank, N.A., No. 16-CV-3147 (ES) (JAD), 2017 U.S. Dist. LEXIS 137723, at * 4-5 (D.N.J.

 Aug. 28, 2017) (internal citations omitted).2 In opposition to this motion, Plaintiff is required to

 demonstrate the existence of subject matter jurisdiction. See Common Cause v. Pennsylvania,

 558 F.3d 249, 257 (3d Cir. 2009) (citing DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342 9

 (2006)). If this Court determines that it lacks subject matter jurisdiction, then it must dismiss this

 action. See Fed. R. Civ. P. 12(h)(3).

            M&T Bank acknowledges that Plaintiff is proceeding pro se and as such, his complaint is

 “to be liberally construed,” and, “however inartfully pleaded, must be held to less stringent

 standards than formal pleadings drafted by lawyers.” Erickson v. Pardus, 551 U.S. 89, 93-94

 (2007). Notwithstanding, “[w]hile a litigant’s pro se status requires a court to construe the

 allegations in the complaint liberally, a litigant is not absolved from complying with Twombly

 and the federal pleading requirements merely because s/he proceeds pro se.” Thakar v. Tan, 372

 F. App’x 325, 328 (3d Cir. 2010).

            In adjudicating this motion, M&T Bank submits that this Court can – and should –

 “review evidence outside the pleadings” in finding that subject matter jurisdiction does not exist

 herein. United States ex rel. Atkinson v. Pa. Shipbuilding Co., 473 F.3d 506, 514 (3d Cir. 2007).

 This includes documents publicly filed on the dockets in the Foreclosure Action that are intrinsic

 and integral to the Federal Court Action, and of which this Court may take judicial notice. See

 Aliperio v. Bank of Am., No. 2:16-CV-01008-KM-MAH, 2016 U.S. Dist. LEXIS 172490, at *13-

 14 (D.N.J. Dec. 13, 2016) (dismissing borrower’s affirmative litigation against mortgage servicer


 2
     See Berg Decl., ¶ 21, Exh. 20.

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 associated with related foreclosure action, holding that “on a motion to dismiss, we may take

 judicial notice of another court’s opinion—not for the truth of the facts recited therein, but for

 the existence of the opinion, which is not subject to reasonable dispute over its authenticity,” and

 noting that “even setting aside judicial notice, however, records of the foreclosure action that are

 intrinsic to the allegations of the complaint may be considered without converting a facial Rule

 12(b)(1) challenge into a factual one, or a Rule 12(b)(6) motion into one for summary

 judgment.”) (internal citations omitted).3

            Once it does so, this Court will find that dismissal is appropriate pursuant to Rooker-

 Feldman, the Colorado River Doctrine, New Jersey’s Entire Controversy Doctrine, First-Filed

 Rule and the doctrine of res judicata and collateral estoppel argued below.

                      a.       The Rooker-Feldman Doctrine Bars Plaintiff’s Claims

            Plaintiff’s Complaint is nothing more than an attempt to collaterally attack the rulings

 issued by the state court in the Foreclosure Action and is therefore wholly barred by the Rooker-

 Feldman doctrine.

            Under Rooker-Feldman, “federal district courts lack subject matter jurisdiction to sit in

 direct review of state court decisions.” Spuck v. Pa. Bd. of Prob. & Parole, 563 F. App’x 156,

 159 (3d Cir. 2014). (citing Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284

 (2005)).        “[A] district court is precluded from entertaining an action, that is, the federal court

 lacks subject matter jurisdiction, if the relief requested effectively would reverse a state court

 decision or void its ruling.” Taliaferro v. Darby Township Zoning Bd., 458 F.3d 181, 192 (3d

 Cir. 2006). “[A]pplication of the Rooker-Feldman doctrine is necessarily limited to ‘cases

 brought by state-court losers complaining of injuries caused by state-court judgments rendered


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     See id., ¶ 22, Exh. 21.

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 before the district court proceedings commenced and inviting district court review and rejection

 of those judgments.’” Id. (quoting Exxon Mobil Corp., 544 U.S. at 280). Further, it is well-

 settled that Rooker-Feldman doctrine applies to all state court judgments, including state court

 foreclosure proceedings or by default. See Todd v. United States Bank Nat’l Ass’n, 685 Fed

 Appx 103, 105 (3d Cir. 2017).

        The Third Circuit has identified four requirements that must be met in order for Rooker-

 Feldman to apply:

                     (1) the federal plaintiff lost in state court; (2) the plaintiff
                     ‘complain[s] of injuries caused by [the] state-court
                     judgments’; (3) those judgments were rendered before the
                     federal suit was filed; and (4) the plaintiff is inviting the
                     district court to review and reject the state judgments.

 Great W. Miming & Mineral Co. v. Fox Rothchild LLP, 615 F.3d at 166 (quoting Exxon Mobil

 Corp., 544 U.S. at 284).

        Applying the Third Circuit’s four-part test, this Court lacks subject matter jurisdiction

 over the claims brought by Plaintiff. First, as established above, Plaintiff is clearly a “state-court

 loser”, who is now taking issue with, and contesting the validity of, the rulings of the state court

 (i.e. the Court’s decision to deny Plaintiff’s Vacate Motion and to reject the Foreclosure

 Counterclaims in the Foreclosure Action) including the final judgment entered against him in the

 Foreclosure Action. See Berg Decl. at Exhs. 11, 13, & 18. Second, Plaintiff complains of

 injuries caused by the state court rulings, and indeed, Plaintiff specifically requests the very relief

 that was denied to him by the state court. See e.g., Berg Decl. Exh. 19 at ¶ 4 (Plaintiff was

 induced into a one-sided, unenforceable, deceitful credit transaction under the false pretense of a

 loan); id. at ¶ 6 (M&T Bank is not the owner of the alleged mortgage Loan); id. at ¶ 10 (without

 lawful authority and with the intent to deceive, M&T Bank filed claims against Plaintiff in the


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 Foreclosure Action); id. at ¶ 11 (M&T Bank is attempting civil theft of the Property). Third, the

 orders denying Plaintiff’s Vacate Motion and rejecting his Foreclosure Counterclaims were

 rendered prior to the filing of the Federal Court action. See Berg Decl. Exhs. 5 & 18. And

 fourth, Plaintiff now seeks to have this Court make certain findings (namely to “review and

 reject the state judgment” and “to declare Plaintiff to have quiet undisturbed possession of the

 Property and reimbursed for prior payments plus damages”) that necessarily rest upon a

 conviction that the state court erred with respect to the validity of the foreclosure proceedings

 and would therefore require this Court to improperly undertake the role of reviewing – and

 overruling – the state court’s orders which is precisely what Rooker-Feldman seeks to bar. See

 e.g., Madera v. Ameriquest Mortg. Co. (In re Madera), 586 F.3d 228 (3d Cir. 2009), 586 F.3d at

 232 (finding claims for rescission under TILA barred by Rooker-Feldman); Laychock v. Wells

 Fargo Home Mortg., 399 F. App’x 716, 718 (3d Cir. 2010) (“Any claim relying on allegations of

 wrongful foreclosure must be rejected under the Rooker-Feldman doctrine.”).

        Accordingly, this Court should find that the state court’s rulings in the Foreclosure

 Action bar this Court’s review under the Rooker-Feldman Doctrine, and dismiss Plaintiff’s

 Complaint with prejudice for lack of jurisdiction.

                b.     This Court Should Abstain from Deciding Plaintiff’s Claims under
                       Colorado River

        This Court should also dismiss the Complaint and abstain from exercising jurisdiction

 over this matter pursuant to the Colorado River abstention doctrine.

        In Colorado River Water Conservation Dist. v. U.S., the Supreme Court held that a

 federal court may abstain from hearing certain cases where doing so would serve an important

 interest, such as respect for “considerations of [wise] judicial administration, giving regard to

 conservation of judicial resources and comprehensive disposition of litigation.” 424 U.S. 800,

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 817 (1976). The doctrine applies when the state and federal cases involve the same parties and

 substantially identical claims, raising nearly identical allegations and issues.            See IFC

 Interconsult, AG v. Safeguard Int’l. Partners, LLC., 438 F.3d 298, 306 (3d Cir. 2006); Ryan v.

 Johnson, 115 F.3d 193, 196 (3d Cir. 1997). Other considerations are: (1) which court first

 assumed jurisdiction over a relevant res, if any; (2) whether the federal court is inconvenient; (3)

 whether abstention would aid in avoiding piecemeal litigation; (4) which court first obtained

 jurisdiction; (5) whether federal or state law applies; and (6) whether the state action is sufficient

 to protect the federal plaintiff's rights. See Rycoline Prods. v. C & W Unlimited, 109 F.3d 883,

 890 (3d Cir. 1997). In the instant case, these factors support this Court’s abstention.

        Here, the state court has assumed jurisdiction over Plaintiff’s claims and the Property via

 the Foreclosure Action. Not only is foreclosure governed by state law, but given that the State of

 New Jersey has a special track specifically for adjudicating foreclosure matters, the state court is

 fully equipped to adjudicate the foreclosure in question – including any of Plaintiff’s collateral

 attacks regarding the orders or writs issued by its courts.

        Further, the parties (Plaintiff and M&T Bank) and the underlying allegations in this case

 and in the Foreclosure Action are identical. As a result, any potential ruling from this Court in

 Plaintiff’s favor would necessarily implicate the validity of, inter alia, the Order denying

 Plaintiff’s Vacate Motion in the State Court Action. Thus, given the relief Plaintiff seeks in the

 instant action, it would not be possible for this Court to render a ruling on Plaintiff’s claims

 without re-litigating and potentially casting doubt on the legitimacy of the orders issued in the

 ongoing Foreclosure Action.

        Precisely for these reasons, this Court has previously abstained from exercising

 jurisdiction over a mortgagor’s state and federal claims related to the subject mortgage during the


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 pendency of a state court foreclosure action under Colorado River. In St. Clair v. Wertzberger,

 this Court reasoned:

                If the Court were to find that defendants violated the FDCPA by
                improperly instituting the state foreclosure action, such a finding
                would be an impermissible direct contradiction of the final
                judgment of foreclosure, if it is entered . . . It would also
                effectively constitute an injunction enjoining the state court from
                ordering a foreclosure sale, which is prohibited by the Anti–
                Injunction Act. 28 U.S.C. § 2283.

 637 F. Supp. 2d 251, 254-55 (D.N.J. 2009). Similarly, here, if this Court were to find for

 example, that Judgement or Writ of Execution was invalid, this would in effect constitute an

 injunction against the continuation of the Foreclosure Action in state court. As such, this Court

 should abstain from exercising jurisdiction over this matter. See, e.g., Ungar v. Mandell, 471

 F.2d 1163, 1165 (2d Cir. 1972) (holding that Anti-Injunction Act did not permit injunction of

 state court foreclosure proceeding); see also Arthur v. JP Morgan Chase Bank, NA, 569 F.

 App’x. 669, 678 (11th Cir. 2014) (upholding application of Anti-Injunction Act to deny request

 for injunction regarding state court foreclosure).

                c.      Plaintiff’s Claims Are Barred by the Entire Controversy Doctrine

        This Court should also dismiss the Complaint pursuant to New Jersey’s entire

 controversy doctrine as Plaintiff’s claims are germane counterclaims that should have been

 raised, and, in fact were attempted to be raised in the Foreclosure Action.

        New Jersey’s entire controversy doctrine is “a particularly strict application of the rule

 against splitting causes of action.” Nubenco Enters. v. Inversiones Barberena, S.A., 963 F. Supp.

 353 (D.N.J. 1997). The doctrine “requires the assertion of all claims arising from a single

 controversy in a single action at the risk of being precluded from asserting them in the future.”

 See In re Estate of Gabrellian, 372 N.J. Super. 432, 444 (Super. Ct. App. Div. 2004); see also

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 N.J. Ct. R. 4:30A (“[n]on-joinder of claims required to be joined by the entire controversy

 doctrine shall result in the preclusion of the omitted claims…”).

            In the context of foreclosure actions, the doctrine has more limited application and bars

 only those claims that are “germane” to the foreclosure.          Leisure Tech.-Northeast, Inc. v.

 Klingbeil Holding Co., 137 N.J. Super. 353, 358 (1975). New Jersey Courts, however, have

 expressly found the type of claims raised by Plaintiff to be germane. See, e.g., Mullarkey v.

 Tamboer (In re Mullarkey), 536 F.3d 215, 230 (3d Cir. 2008) (ruling that claims are germane if

 they “aris[e] out of the mortgage transaction which is the subject matter of the foreclosure”);

 Coleman v. Chase Home Fin., LLC, 446 F. App’x 469, 472 (3d Cir. 2011) (finding claims

 germane because they would not exist “but for the foreclosure action”); Assocs. Home Equity

 Servs., Inc. v. Troup, 778 A.2d 529, n.5 (Super. Ct. App. Div. 2001) (finding TILA claims to be

 germane); Mantovani v. Wells Fargo Bank, N.A., No. 18-cv-0886 (PGS) (DEA), 2018 U.S. Dist.

 LEXIS 135910, at *10 (D.N.J. Aug. 13, 2018)) (“[C]laims relating to ‘payment and discharge,

 [and] incorrect computation of the amounts due’” are germane) (citations omitted)4.

            Here, Plaintiff purports to challenge the adequacy of the loan documents (i.e. Note,

 Mortgage, Assignment), loan level disclosure documentation and the validity of the underlying

 foreclosure. See Berg Decl. Exh. 19. Clearly, these types of claims “arise out of the mortgage

 transaction” and/or would not exist “but for the foreclosure action”, making them germane to the

 Foreclosure Action. Accordingly, Plaintiff’s claims should be barred by the entre controversy

 doctrine.




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     See id., ¶ 23, Exh. 22.

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                 d.      The Complaint Should Be Dismissed Pursuant to the First-Filed Rule

         The Court should also dismiss the Complaint pursuant to the “first-filed” rule. The “first-

 filed” rule is a well-settled legal doctrine, instructing that the court that first has possession of the

 subject matter, must decide it. EEOC v. Univ. of Pa., 850 F.2d 969 (3d Cir. 1988); see also

 Kahn v. GMC, 889 F.2d 1078, 1081 (Fed. Cir. 1989) (where two suits are filed in different

 forums, the first has priority).

         The Supreme Court has acknowledged that application of the “first-filed” rule promotes

 “wise judicial administration, giving regard to conservation of judicial resources and

 comprehensive disposition of litigation....” Kerotest Mfg. Co. v. C–O–Two Fire Equip. Co., 342

 U.S. 180, 183 (1952). When two suits involving the same parties and subject matter are pending

 concurrently, the first-filed suit should have priority absent a showing that the balance of

 inconvenience favors transfer or unless there are special circumstances which justify giving

 priority to the second suit. Ricoh Co. Ltd v. Honeywell, Inc., 817 F.Supp. 473 (D.N.J. 1993).

         As outlined above, the Foreclosure Action and the instant Federal Court Action are nearly

 identical claims from both a factual perspective (i.e. same parties and same allegations involving

 the Loan Documents and Foreclosure Action) and legal perspective (i.e. same causes of action in

 the Foreclosure Action and the instant Federal Court Action) to invoke the first-filed rule. As the

 Foreclosure Action was first in time, the Complaint should be dismissed.

                 e.      Plaintiff’s Claims Are Barred by the Doctrine of Res Judicata and
                         Collateral Estoppel

         As detailed above, the issues raised in Plaintiff’s Complaint have previously been

 addressed (or could have been addressed) in prior litigation. As a result, res judicata bars

 Plaintiff’s present attempt to secure a second bite at the proverbial apple.



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        Res judicata, or claim preclusion, bars re-litigation of claims that have been adjudicated

 or that could and should have been raised in a previous proceeding. See In re Target Indus., Inc.,

 328 B.R. 99, 115-16 (Bankr. D.N.J. 2005). The bar applies “not only to ‘all matters litigated and

 determined by such judgment but also as to all relevant issues which could have been presented,

 but were not.’” Culver v. Ins. Co. of N. Am., 115 N.J. 451, 463, 559 A.2d 400, 406 (1989)

 (quoting Anselmo v. Hardin, 253 F.2d 165, 168 (3d Cir. 1958)). Res judicata is applicable when:

 (1) the claims in the subsequent action grew out of the same transaction or occurrence as the

 earlier action; (2) the parties in the two actions are the same or in privity with one another; and

 (3) a final judgment was entered in the earlier action by a court of competent jurisdiction. See In

 re Target Indus., Inc., 328 B.R. at 115 (citing Bd. of Trs. Of Trucking Emps. of N.J. Welfare

 Fund, Inc.-Pension Fund v. Centra, 983 F.2d 495, 504 (3d Cir. 1992)); Culver, 115 N.J. at 451).

 All three elements are present in the case at bar.

        First, Plaintiff’s claims arise from the same transaction or occurrence that was the subject

 of the Foreclosure Action. Indeed, the issues advanced in Plaintiff’s Complaint could have been

 presented therein, and in fact, expressly were through the Foreclosure Counterclaim which were

 rejected due to Plaintiff’s failure to vacate the default. See Berg Decl. Ex. 6 & 17.

        As for the second and third prong, it is indisputable that Plaintiff and M&T Bank were

 parties in the Foreclosure Action and also indisputable that a final judgment was entered therein.

 See Berg Decl. Exh. 13.

        Accordingly, Plaintiff’s claims are barred by the doctrine of res judicata and should be

 dismissed with prejudice.

        Similarly, Plaintiff’s Complaint should also be dismissed under the doctrine of collateral

 estoppel. The gravamen of Plaintiff’s Complaint is to unwind the Order of Judgment entered in


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 the Foreclosure Action and quiet title to the Property. Because these issues were addressed (and

 rejected) in the Foreclosure Action, collateral estoppel bars Plaintiff’s claims warranting

 dismissal of the Complaint in its entirety.

            “Collateral estoppel ‘bars re-litigation of any issue which was actually determined in a

 prior action, generally between the same parties, involving a different claim or cause of action.’”

 In re Singh, No. 11-18396 (MBK), 2012 Bankr. LEXIS 1310 at *4 (Bankr. D.N.J. Mar. 22,

 2012)5 (citing Tarus v. Borough of Pine Hill, 189 N.J. 497 (2007)). A party asserting collateral

 estoppel must show:

                      (i) the issue to be precluded is identical to the issue decided in the
                      prior proceeding; (ii) the issue was actually litigated in the prior
                      proceeding; (iii) the court in the prior proceeding issued a final
                      judgment on the merits; (iv) the determination of the issue was
                      essential to the prior judgment; and (v) the party against whom the
                      doctrine is asserted was a party to or in privity with a party to the
                      earlier proceeding.
 Id.

            As discussed more fully above, these issues were raised in the Foreclosure Action.

 Through his Vacate Motion and Foreclosure Counterclaims, the state court rendered its judgment

 and denied the Vacate Motion and rejected the Foreclosure Counterclaims, despite Plaintiff’s

 arguments. Accordingly, as all of the elements for the application of collateral estoppel have

 been met, the purported claims against M&T Bank are barred and should be dismissed with

 prejudice.




 5
     See id., ¶ 24, Exh. 23.

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 II.      PLAINTIFF’S COMPLAINT SHOULD BE DISMISSED AS IT VIOLATES
          FED. R. CIV. P. 8(a)

          Even if this Court determines that it has subject matter jurisdiction over Plaintiff’s

 Complaint, dismissal would still be appropriate because Plaintiff’s Complaint fails to meet even

 the most liberal pleading requirement as articulated in Fed., R. Civ. P. 8(a).

          Under Fed. R. Civ. P. 8(a), a complaint must contain three essential elements: (1) a short

 and plain statement of the legal basis for federal court jurisdiction; (2) a short and plain statement

 of the claim showing why the pleader is entitled to relief; and (3) it must give the defendant fair

 notice of the grounds upon which his claims rests. See Fed. R. Civ. P. 8(a). The purpose of a

 clear and coherent pleading is to give the defendant fair notice of the claim and provide a fair

 opportunity for a defendant to frame a cogent answer.

          Here, Plaintiff’s Complaint fails to meet the second element and is therefore in clear

 violation of Fed. R. Civ. P. 8(a). Plaintiff’s Complaint is nearly indecipherable and consists of

 nothing but quasi legal arguments and unconnected factual averments. As drafted, Plaintiff’s

 Complaint makes it impossible for M&T Bank to even determine what claims are being asserted

 against it, much less give the M&T Bank fair notice of the grounds upon which those claims rest.

 Berg Decl. Exh. 19. As a result, M&T Bank is left to guess what claims Plaintiff is actually

 asserting. Thus, the Complaint is so “ambiguous, vague, or otherwise unintelligible that its true

 substance, if any, is well disguised,” such that dismissal of Plaintiff’s Complaint under Fed. R.

 Civ. P. 8(a) is appropriate. See Ala’ Ad-Din Bey, United States DOJ, 457 F. App’x 90 (3d Cir.

 2012).

          A.     Plaintiff’s Complaint Should be Dismissed as it Fails to State a Claim upon
                 Which Relief Can be Granted

          Even if this Court determines that it has subject matter jurisdiction over Plaintiff’s


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 Complaint, the Complaint should still be dismissed as it fails to state a claim upon which relief

 can be granted.

          First, Plaintiff’s Petition for Permanent Injunctive Relief is improper and should be

 dismissed. “A court of the United States may not grant an injunction to stay proceedings in a

 State court except as expressly authorized by Act of Congress, or where necessary in aid of its

 jurisdiction, or to protect or effectuate its judgments.” 28 U.S.C. § 2283. “Therefore, the Act

 prohibits a federal court from entering an injunction that would enjoin mortgage foreclosure

 actions.” Hernandez v. Fannie Mae No. 2:14-7950 (WJM), 2015 U.S. Dist. LEXIS 67476

 (D.N.J. May 26, 2015)6 (citing Patrick v. America’s Servicing Co., No. 2:14–6563 (WJM), 2015

 U.S. Dist. LEXIS 50570 (D.N.J. Apr. 17, 2015)7, and St. Clair v. Wertzberger, 637 F.Supp.2d

 251, 255 (D.N.J. 2009)).              Accordingly, Plaintiff’s demand for injunctive relief should be

 dismissed with prejudice.8

          As for Plaintiff’s request for an award of “damages”, M&T Bank asserts that any cause of

 action based on the allegations in Plaintiff’s Complaint, however, must fail as a matter of law.

 Plaintiff clearly cannot maintain a claim based on demonstrably false facts, and therefore

 Plaintiff’s claim for damages must be dismissed.

                                                     CONCLUSION

          For these reasons, M&T Bank respectfully requests that this Court enter an Order: (i)

 granting the instant motion, (ii) dismissing Plaintiff’s Complaint as to M&T Bank with

 6
   See id., ¶ 25, Exh. 24.
 7
   See id., ¶ 26, Exh. 25.
 8
   Plaintiff has also failed to allege any of the requisite elements to support the issuance of an injunction, further
 warranting the dismissal of his claim. See Reilly v. City of Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017), as
 amended (June 26, 2017) (finding that a party seeking an injunction “must show as a prerequisite (1) a reasonable
 probability of eventual success in the litigation, and (2) that it will be irreparably injured ... if relief is not granted....
 [In addition,] the district court, in considering whether to grant a preliminary injunction, should take into account,
 when they are relevant, (3) the possibility of harm to other interested persons from the grant or denial of the
 injunction, and (4) the public interest.”) (alternations in original).

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 prejudice, and (iii) granting M&T Bank any such other and further relief as is just, proper, and

 equitable.

                                                    Respectfully submitted,

 Dated: November 3, 2020                            /s/ James P. Berg
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